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               IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF ALABAMA


JASON BALLARD, and,                 )
NICOLAS IRELAND on behalf of        )
themselves and all others similarly )
situated,                           )
                                    )
       Plaintiffs,                  )
                                    )
vs.                                 ) Civil Action No.: 2:09-cv-01156-MHT-CSC
                                    )
COVINGTON COUNTY                    )
COMMISSION, LYNN SASSER, )
in his official and/or individual   )
capacity as chairman of the         )
Covington County Commission,        )
and DENNIS MEEKS, in his            )
official and/or individual capacity )
as Sheriff of Covington County,     )
Alabama,                            )
                                    )
       Defendants.                  )


            DEFENDANT SHERIFF DENNIS MEEKS’ ANSWER
                   TO PLAINTIFFS’ COMPLAINT

      COMES NOW Defendant Sheriff Dennis Meeks, in his official and

individual capacities and files this Answer to Plaintiffs’ Complaint.

                                  INTRODUCTION

      1.     Defendant admits that Plaintiffs are seeking to bring this action under

the Fair Labor Standards Act (“FLSA”) and § 36-21-4.1 of the Code of Alabama.

All other averments are denied.
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      2.     Denied.

      3.     Denied.

      4.     Denied.

                                       PARTIES

      5.     Defendant admits that the office of the Sheriff of Covington County,

Alabama, is located in Andalusia, Alabama. All other averments are denied.

      6.     Defendant admits that Plaintiffs Ballard and Ireland are former

Covington County Deputy Sheriffs. All other averments are denied.

      7.     Denied.

      8.     Denied.

      9.     Defendant is without sufficient knowledge or information to form a

belief as to the truth of this averment at this time.

      10.    Denied.

                          NATURE OF PROCEEDINGS

      11.    Admitted.

      12.    Admitted.

      13.    Denied.

      14.    Denied.

      15.    Denied.

      16.    Defendant admits that Plaintiffs recorded their time on a weekly basis.

All other averments in this paragraph are denied.
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      17.    Denied.

      18.    Defendant is without sufficient knowledge or information to form a

belief as to the truth of this averment at this time.

      19.    Denied.

      20.    Defendant admits that Plaintiffs were employed as Deputy Sheriffs.

All other averments are denied.

      21.    Denied.

      22.    Denied.

      23.    Denied.

      24.    Denied.

      25.    Denied.

                   COLLECTIVE ACTION ALLEGATIONS

      26.    Denied.

      27.    Defendant admits that 29 U.S.C. § 216(b) provides for a collective

action under the FLSA. All other averments in this paragraph are denied.

      28.    Denied.

      29.    Denied.

      30.    Denied.

      31.    Denied.

      32.    Denied.

      33.    Denied.
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      34.    Denied.

      35.    Denied.

      36.    Denied.

                            COUNT ONE
     VIOLATION OF THE FAIR LABOR STANDARDS ACT OF 1938
                               AND
           § 36-21-4.1 OF THE CODE OF ALABAMA, 1975

  (Brought Against Defendants by All Individually-Named Plaintiffs and on
                  Behalf of All Others Similarly Situated)

      37.    Defendant adopts and incorporates by reference the responses in

paragraphs 1-36 above as if fully set out herein.

      38.    Denied.

      39.    Denied.

      40.    Denied.

      41.    Denied.

      42.    Denied.

      43.    Denied.

      44.    Denied.

      45.    Denied.

      46.    Denied.

      47.    Defendant admits that the FLSA provides for recovery of costs and

attorneys’ fees by successful parties. All other averments in this paragraph are

denied.
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      Defendant denies that Plaintiffs are entitled to relief of any kind.

                               COUNT TWO
                           BREACH OF CONTRACT

      48.    Defendant adopts and incorporates by reference the responses in

paragraphs 1-47 above as if fully set out herein.

      49.    Denied.

      50.    Denied.

      51.    Denied.

      52.    Denied.

      53.    Denied.

      Defendant denies that Plaintiffs are entitled to relief of any kind.

                                COUNT THREE
                              QUANTUM MERUIT

      54.    Defendant adopts and incorporates by reference the responses in

paragraphs 1-53 above as if fully set out herein.

      55.    Denied.

      56.    Denied.

      57.    Denied.

      Defendant denies that Plaintiffs are entitled to relief of any kind.




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                                   COUNT FOUR
                                UNJUST ENRICHMENT

       58.       Defendants adopt and incorporate by reference the responses in

paragraphs 1-57 above as if fully set out herein.

       59.       Denied.

       60.       Denied.

       61.       Denied.

       Defendant denies that Plaintiffs are entitled to relief of any kind.

                              AFFIRMATIVE DEFENSES

       1.        Defendant is entitled to absolute immunity.

       2.        The applicable statutes of limitation bar recovery.

       3.        Plaintiffs have failed to mitigate damages.

       4.        Any injury or damages suffered by the Plaintiffs were the result of an

independent intervening cause and not the result of any alleged actions or

omissions of this Defendant.

       5.        The doctrines of collateral estoppel and res judicata bar recovery.

       6.        Plaintiffs are barred from recovery by the doctrines of unclean hands

and estoppel.

       7.        Recovery is barred by the doctrine of contributory negligence.

       8.        Defendant is not an employer subject to the provisions of the FLSA as

to Plaintiffs.

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       9.    Defendant at all times acted in good faith with a reasonable basis for

its actions and in good faith conformity with administrative orders, regulations or

interpretations of the Department of Labor, Wage and Hour Division.

       10.   The doctrine of judicial estoppel bars recovery.

       11.   Plaintiffs are not “employee[s]” within the meaning of 29 U.S.C. §

203.

       12.   Plaintiffs are exempt from the coverage of the FLSA pursuant to 29

U.S.C. § 213 or partially exempt pursuant to 29 U.S.C. § 207(k).

       13.   Any alleged violations of the FLSA are de minimis.

       14.   All allegations not specifically admitted are denied.

       Respectfully submitted this the 30th day of December, 2009.


                                       s/Robbie Alexander Hyde
                                       ROBBIE ALEXANDER HYDE (ALE023)
                                       JAMIE K. HILL (HIL060)
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                       CERTIFICATE OF SERVICE

       I hereby certify that on December 30, 2009, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system which will send
notification of such filing to the following: Christopher Michael Sledge, Esq.
and Manish Hasmukh Patel, Esq.

                                   s/Robbie Alexander Hyde
                                   Of Counsel




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